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December 21, 2022

VIA CM/ECF

The Honorable Paul A. Engelmayer
United States District Court
Southern District of New York
40 Foley Square, Room 2201
New York, NY 10007

       Re:    Avi & Co NY Corp v. ChannelAdvisor Corporation,
              No. 1:22-cv-10599-PAE (S.D.N.Y.)

Dear Judge Engelmayer:

        This firm represents defendant ChannelAdvisor Corporation (“ChannelAdvisor”) in
the above-referenced matter. Pursuant to Rule of Civil Procedure 6(b), Local Civil Rule 7.1(d)
and Rule 1.E. of your Individual Rules of Practice in Civil Cases, the parties respectfully
request that the Court enter an order extending the time for pleadings and setting the time
for the filing of an initial motion.

      Plaintiff commenced this action on 17 November 2022 through the filing of a
Summons with Notice in Supreme Court of the State of New York, New York County.
ChannelAdvisor accepted service of process through counsel effective as of 29 November 2022
and then removed the action to this Court on 15 December 2022. If required to respond to
the Summons with Notice, ChannelAdvisor’s responsive pleading would be due on 22
December 2022 under Federal Rule 81(c)(2).

       Counsel for the parties have conferred. Plaintiff intends to file a Complaint as
required by Federal Rule 7, and Defendant intends to file a motion to transfer venue pursuant
to 28 U.S.C. § 1404 with its response to the Complaint. The parties seek the entry of an
Order which (i) extends ChannelAdvisor’s time to plead pending the filing of Plaintiff’s
Complaint, (ii) extends Plaintiff’s time to file its Complaint to 31 January 2023, (iii) extends
ChannelAdvisor’s time to respond to the Complaint to 2 March 2023, and (iv) sets a deadline
of 2 March 2023 for ChannelAdvisor to file its anticipated motion to transfer venue. The
parties intend to confer on a briefing schedule for ChannelAdvisor’s anticipated motion to
transfer venue and any other motion filed in response to the Complaint.

       The parties have not made any previous requests for extensions of time in this action.
Plaintiff’s counsel has reviewed this letter motion and consents to the relief requested.



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         Accordingly, ChannelAdvisor respectfully requests with the consent of Plaintiff that
the Court enter an Order which (i) extends ChannelAdvisor’s time to plead pending the filing
of Plaintiff’s Complaint, (ii) extends Plaintiff’s time to file its Complaint to 31 January 2023,
(iii) extends ChannelAdvisor’s time to respond to the Complaint to 2 March 2023, and (iv)
sets a deadline of 2 March 2023 for ChannelAdvisor to file its anticipated motion to transfer
venue.

       Thank you in advance for your consideration of this matter.

                                            Very Truly Yours,

                                            MORNINGSTAR LAW GROUP


                                               /s/ Jeffrey L. Roether

                                            Jeffrey L. Roether




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